IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
Charlotte Division

JAMES JILEK,
Plaintiff,

Vv. Civil Case No. 3:23cv818

COMPASS GROUP USA, INC.,
Defendant.

ORDER
This Order applies to all hearings in the above-captioned case that are held before Senior
United States District Judge John A. Gibney, Jr, in the U.S. District Court for the Eastern District

of Virginia, Richmond Division.' This Order applies only to hearings held in Richmond,

Virginia.

As a general policy, the U.S. District Court for the Eastern District of Virginia has
prohibited all individuals from bringing personal electronic devices into the courthouse without
prior authorization from a judge. Upon due consideration, and in the interest of judicial
efficiency, the Court ORDERS that all attorneys appearing for a hearing before the Honorable
John A. Gibney, Jr., may bring personal electronic devices into Spottswood W. Robinson III
and Robert R. Merhige, Jr., Federal Courthouse located in Richmond, Virginia (the
“Courthouse”), when appearing before Judge Gibney. “Personal electronic devices” shall mean

cell phones, tablets, laptops, electronic watches, and any associated chargers.

! The undersigned Senior United States District Judge is a judge in the Eastern District of
Virginia but is presiding over this case by designation in the Western District of North Carolina.

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In order to bring these personal electronic devices into the Courthouse, the attorney

SHALL:

1. Bring a printed copy of this Order with them.

2. Bring a printed copy of the docket sheet demonstrating that they have appeared as

counsel for a party in the case assigned to Judge Gibney.
3. Present the printed copy of this Order and the docket sheet to the Deputy U.S.
Marshal or court security officer at the security checkpoint and/or upon request.

The Court DIRECTS the Deputy U.S. Marshal or court security officer to permit the
attorney appearing before Judge Gibney to bring their personal electronic devices into the
Courthouse after producing the above documents. This Order SHALL only apply to:

1. The Courthouse located in Richmond, Virginia. This Order SHALL NOT apply
to hearings in the federal courthouses located in the Norfolk Division, Newport
News Division, and Alexandria Division of the Eastern District of Virginia or in
the Western District of North Carolina absent further order of the Court;

2. Hearings before the Honorable John A. Gibney, Jr. Attorneys may not use this
Order to bring personal electronic devices into the Courthouse when they are not
appearing before Judge Gibney; and

3. Hearings in cases in which the Court has entered this Order. Once all proceedings
in the case before Judge Gibney have ceased, the permission to bring personal
electronic devices into the Courthouse also ceases.”

It is so ORDERED.

2 If an attorney has made an appearance in another case before Judge Gibney in which the
Court has not entered this Order, and they wish to bring their personal electronic devices into the
Courthouse for a hearing in that case, they may contact Chambers at (804) 916-2870.

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Let the Clerk send a copy of this Order to all counsel of record and to the United States

Marshals Service, Richmond Division.

Date: 7% June 2025 Is/ eo iL
Richmond, VA John A. Gibney, Jr. ¢ Z {
Senior United States District Judge

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